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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 7

    THE ART INSTITUTE OF                                                   Case No. 18-11535 (CTG)
    PHILADELPHIA LLC, et al.,1
                                                                           Jointly Administered
                                       Debtors.
                                                                           Ref. Docket No. 163

              ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO APPROVE
              SETTLEMENT AGREEMENT WITH DREAM CENTER FOUNDATION

                        Upon consideration of the Chapter 7 Trustee’s Motion to Approve Settlement

Agreement with Dream Center Foundation (the “Motion”) of George L. Miller, chapter 7 trustee

(the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), for entry of an

order (this “Order”), pursuant to sections 105(a) and 363(b) of the Bankruptcy Code and

Bankruptcy Rule 9019, approving a Settlement Agreement and Release (the “Settlement

Agreement”)2 between the Trustee and Dream Center Foundation (“Dream Center Foundation,”

and together with the Trustee, the “Parties”), a copy of which Settlement Agreement is attached

to this Order as Exhibit 1; the Court having reviewed the Motion and the Settlement Agreement

and having considered the record with respect to the Motion; the Court having found that (a) the



1
  The last four digits of the Debtors’ taxpayer identification numbers are as follows: American Education Centers, Inc. (6160); Argosy Education
Group, Inc. (5674); Argosy University of California LLC (1273); Brown Mackie College - Tucson, Inc. (4601); Education Finance III LLC (2533);
Education Management LLC (6022); Education Management II LLC (2661); Education Management Corporation (9571); Education Management
Holdings II LLC (2529); Higher Education Services II LLC (3436); Miami International University of Art & Design, Inc. (1065); South Education
– Texas LLC (2573); South University of Florida, Inc. (9226); South University of Michigan, LLC (6655); South University of North Carolina
LLC (9113); South University of Ohio LLC (9944); South University of Virginia, Inc. (9263); South University, LLC (7090); Stautzenberger
College Education Corporation (4675); TAIC-San Diego, Inc. (1894); TAIC-San Francisco, Inc. (9487); The Art Institutes International Minnesota,
Inc. (6999); The Art Institute of Atlanta, LLC (1597); The Art Institute of Austin, Inc. (3626); The Art Institute of California-Hollywood, Inc.
(3289); The Art Institute of California-Inland Empire, Inc. (6775); The Art Institute of California - Los Angeles, Inc. (4215); The Art Institute of
California-Orange County, Inc. (6608); The Art Institute of California-Sacramento, Inc. (6212); The Art Institute of Charleston, Inc. (6048); The
Art Institute of Charlotte, LLC (4912); The Art Institute of Colorado, Inc. (3062); The Art Institute of Dallas, Inc. (9012); The Art Institute of Fort
Lauderdale, Inc. (0255); The Art Institute of Houston, Inc. (9015); The Art Institute of Indianapolis, LLC (6913); The Art Institute of Las Vegas,
Inc. (6362); The Art Institute of Michigan, Inc. (8614); The Art Institute of Philadelphia LLC (7396); The Art Institute of Pittsburgh LLC (7441);
The Art Institute of Portland, Inc. (2215); The Art Institute of Raleigh-Durham, Inc. (8031); The Art Institute of St. Louis, Inc. (9555); The Art
Institute of San Antonio, Inc. (4394); The Art Institute of Seattle, Inc. (9614); The Art Institute of Tampa, Inc. (6822); The Art Institute of
Tennessee-Nashville, Inc. (5359); The Art Institute of Virginia Beach LLC (2784); The Art Institute of Washington, Inc. (7043); The Art Institutes
International II LLC (9270); The Illinois Institute of Art at Schaumburg, Inc. (3502); The Illinois Institute of Art, Inc. (3500); The Institute of Post-
Secondary Education, Inc. (0283); The New England Institute of Art, LLC (7798); The University of Sarasota, Inc. (5558); Western State University
of Southern California (3875).

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    Capitalized terms not otherwise defined herein shall have the meaning given to them in the Settlement Agreement.
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Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012, and that this Court may enter a final order consistent with Article III of

the United States Constitution, (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b), (c)

notice of the Motion was sufficient under the circumstances and in full compliance with

Bankruptcy Rule 2002 and the local rules of this Court, (d) the Settlement Agreement (i) is the

product of good faith, arms’ length negotiations among the Parties, without collusion, (ii) is fair,

reasonable, appropriate and in the best interests of the Debtors’ estates and (iii) represents a

sound exercise of the Trustee’s business judgment and (e) each of the Parties to the Settlement

Agreement provided sufficient consideration for the transactions contemplated by the Settlement

Agreement; and the Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; IT IS HEREBY

ORDERED THAT:

                 1.          The Motion is granted as set forth herein.

                 2.          The terms of the Settlement Agreement attached hereto as Exhibit 1 are

APPROVED in their entirety pursuant to sections 105(a) and 363(b) of the Bankruptcy Code and

Bankruptcy Rule 9019.

                 3.          The Parties are hereby authorized to take such additional actions or

execute such additional documents as are necessary or appropriate to implement the terms of the

Settlement Agreement.

                 4.          Notwithstanding the possible applicability of Rules 6004, 7062, or 9014 of

the Bankruptcy Rules, any other Bankruptcy Rule, this Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of effectiveness or execution of this Order.



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                 5.          The Court shall retain exclusive jurisdiction over any and all matters

arising from or related to the implementation, interpretation, or enforcement of the Settlement

Agreement or this Order.




Dated: August 12th, 2021                                   CRAIG T. GOLDBLATT
Wilmington, Delaware                                       UNITED STATES BANKRUPTCY JUDGE




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